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 District Court, Boulder County, State of Colorado
 1777 Sixth Street, Boulder, Colorado 80302
 (303) 441-3748                                           DATE FILED: August 11, 2021 11:06 AM
                                                          CASE NUMBER: 2014CR437

 PEOPLE OF THE STATE OF COLORADO,

 vs.

 EMILY ELIZABETH COHEN, Defendant
                                                                   ▲ COURT USE ONLY▲
 Attorneys for the People: Anne Kelly
                                                                    Case Number: 14CR437
 Michelle Sudano
                                                                          Division 2
 Attorneys for the Defendant: Jonathan Willett and Natischa
                                                                         Courtroom P
 Volpe

         MINUTE ORDER REGARDING AUGUST 9, 2021 STATUS CONFERENCE



On August 9, 2021, the Court held a status conference on this matter. The Court took the following
actions:

COURT REPORTER: FTR

APPEARANCES:
  1. Anne Kelly and Michelle Sudano appear on behalf of the People.

   2. Jonathan Willet and Natischa Volpe appear on behalf of Defendant, Emily Cohen who
      appears via WebEx.

COURT ORDERS/ACTIONS:
  1. The Court proposed dates for commencement of a two-week jury trial.

   2. Defendant objected to any setting in violation of her right to a speedy trial.

   3. The Court overruled Defendant’s objection and affirmed its July 14, 2021 ruling which
      tolled commencement of a six-month speedy trial from August 9, 2021.

   4. The Court confirmed past denials of motions to dismiss and Defendant reserved all
      rights.
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5. The Court set the matter for a ten-day jury trial commencing December 6, 2021 (the
   Court also set a trial readiness hearing November 2, 2021 at 9:00 AM.)

6. Defense counsel moved to withdraw as counsel.

7. The People objected to Defense’s motion to withdraw and moved for a Bergerud hearing.
   People v. Bergerud, 223 P.3d 686 (Colo. 2010).

8. Defense counsel moved for a Bergerud hearing before a new judge because of the
   extrajudicial proceedings of the issue and concerns for bias from the Court.

9. The Court denied Defense’s request for a Bergerud hearing before a new judge.

10. The Court commenced the Bergerud hearing outside the presence of the People. The FTR
    read 3:18 PM at commencement and 3:54 PM at termination.

11. Johnathan Willett testified.



           REDACTED FOR GENERAL VIEWING – COMPLETE RECORD UNDER SEAL



12. Natischa Volpe declined to testify but affirmed Mr. Willett’s claims. Ms. Volpe also
    requested to be withdrawn as Defendant’s counsel.

13. Emily Cohen testified.

14. Ms. Cohen objected to counsels’ withdrawal from representation.

15. After approximately forty minutes of testimony, the People returned.

16. The Court finds Defense counsels’ motions appropriate and hereby GRANTS counsels’
    motions to withdraw. The Court finds that Defense counsel has shown good cause and
    that it is untenable for Mr. Willett and Ms. Volpe to continue representation of
    Defendant on a professional, personal, and effective level.

17. The Court further finds that the facts of the case and trial date are such that any
    prejudice to the People is nominal given the case’s history.

18. Defense counsel advised the Court that Defendant wished to represent herself on two
    filings dated May 21, 2021 and June 2, 2021. Defendant also sent several emails to the
    court indicated her desire to proceed “pro se”. See Attachment.
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19. However, upon questioning from the Court, Defendant stated she did not wish to
    represent herself and requested the Court appoint new counsel. The Court finds
    Defendant’s request futile and/or a dilatory tactic based on her history of causing
    conflicts with court appointed counsel, and made in bad faith. The Defendant made
    numerous misrepresentations to the Court about her conflicts with past counsel.

20. Defendant has a long history of causing significant conflicts with her prior lawyers and
    pro se filings while represented, namely:

   a. Trial counsel Steven Louth moved to withdraw on February 6, 2015 after her
   conviction. The court granted Mr. Louth’s motion to withdraw with consent of
   Defendant on February 12, 2015.

   b. Defendant subsequently sued Mr. Louth for malpractice stemming from her
   conviction in Boulder District court, 16CV21 on January 19, 2016. The court dismissed
   the case on June 6, 2016 for Ms. Cohen’s failure to file the required certificate of review
   pursuant to section 13-20-602, C.R.S.

   c. The court appointed the Public Defender’s Office to represent Defendant at
   sentencing on February 12, 2015 and counsel entered on February 18, 2015.

   d. The Public Defender’s Office moved to withdraw on March 11, 2015, three weeks
   after entering, stating that there was an irretrievable breakdown of the attorney client
   relationship. The court granted the motion and appointed ADC Elizabeth Kelly as
   counsel for sentencing.

   e. Ms. Kelly actively represented Defendant at the sentencing phase including objections
   to the PSI, finding collateral supporters, and other motion practice.

   f. On April 9, 2015, after failing to appear for her sentencing hearing, Defendant filed a
   detailed pro se motion for a competency hearing. The court deferred ruling on Ms.
   Kelly’s motion to withdraw as counsel on April 13, 2015 after Defendant’s second failure
   to appear at sentencing.

   g. At the sentencing hearing on April 24, 2015, Ms. Kelly renewed her request to
   withdraw as counsel informing the court that Defendant wanted a finding of
   incompetency, but that counsel could not support the request. The court thus found
   Defendant competent for sentencing and appointed the Public Defender for appellate
   purposes.

   h. While serving her sentence, Defendant filed pro se motions on March 4, 2016 for
   habeas corpus and to correct an allegedly illegal sentence that the court denied.
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   i. On March 21, 2019, after the appellate decision (People v. Cohen, 440 P.3d 1256 (Colo.
   App. 2019)), Public Defender reported a conflict with Defendant and moved the court to
   withdraw as counsel. The court granted the Public Defender’s motion and appointed
   ADC Whitney Stark.

   j. On March 22, 2019 the court granted Ms. Stark’s motion to withdraw due to a conflict
   of interest with a witness. The court appointed ADC James Aber.

   k. On May 23, 2019 Mr. Aber moved to withdraw due to his schedule and ADC Melissa
   Roth substituted.

   l. On June 10, 2019 Ms. Roth filed a motion to determine Defendant’s competency
   under C.R.S. 16-8.5-102 which she supplemented on June 11, 2019. Ms. Roth stated that
   Defendant claimed counsel had an ethical conflict and could no longer represent her.

   m. On June 27, 2019 the court held a competency hearing and found preliminary
   grounds of incompetency. Ms. Roth informed the court that Defendant desired to fire
   her as counsel based on the competency motion and the claims therein.

   n. On September 24, 2019 the court granted Ms. Roth’s motion to withdraw based on
   an ethical conflict by her firm representing one of the People’s witnesses.

   o. On March 10, 2020, Defendant’s last counsel Jonathan Willet filed a motion claiming
   the court’s preliminary finding of incompetence was in error and that Ms. Roth violated
   Rule 1.6 of the Rules of Professional Conduct, specifically C.R.S. §13-90-107(1)(b), by
   raising Defendant’s competency over Defendant’s objection.

   p. On April 16, 2020 Defendant filed a Rule 21 petition with the Supreme Court on Ms.
   Roth’s competency review motion claiming that Defendant desired to terminate Ms.
   Roth as counsel prior to the filing again asserting that Ms. Roth violated her ethical
   duties. The Supreme Court denied the Petition on April 20, 2020.

   q. Mr. Willett and second chair counsel Natischa Volpe, diligently represented
   Defendant for renewed motion practice and trial work up after the CDHS found
   Defendant competent on March 12, 2020 until they filed their motions to withdraw on
   May 5, 2021.

   r. In filings on May 21, 2021 and June 2, 2021 Mr. Willett notified the court that,
   “Defendant wishes to represent herself” and “The Defendant has individually notified
   the Court of her intent to represent herself” respectively.

   s. On July 12, 2021 Defendant filed a pro se Rule 21 petition to the Supreme Court
   arguing her case should be dismissed for speedy trial violation. Defendant appended
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   detailed exhibits including a multi-month annotated calendar. The Supreme Court
   denied her motion the following day.

21. the Court finds there is sufficient evidence that Defendant’s lack of good faith in
    working with appointed counsel and her unreasonable refusal constitutes an implied
    waiver of appointed counsel under People v. Arguello, 772 p.2d 87 (Colo. 1989) in
    addition to her express waiver in past filings and communications to the court.

22. The Court gave Defendant her Arguello advisement: Defendant maintains her right to
    legal representation but does not have a choice of appointed counsel. The Court
    DECLINES to appoint further court appointed counsel at this time.

23. The Court advised defendant of the trial charges brought against her and the possible
    associated sentences/fines:

   1. THEFT – Section 18-4-401(1)(a), (2)(g), C.R.S. (F5)
   2. THEFT – Section 18-4-401(1)(a), (2)(g), C.R.S. (F5)
   3. THEFT – Section 18-4-401(1)(a), (2)(f), C.R.S. (F6)
   4. THEFT – Section 18-4-401(1)(a), (2)(g), C.R.S. (F5)
   5. THEFT – Section 18-4-401(1)(a), (2)(e), C.R.S. (M1)
   6. THEFT – Section 18-4-401(1)(a), (2)(d), C.R.S. (M2)
   7. THEFT – Section 18-4-401(1)(a), (2)(e), C.R.S. (M1)
   8. THEFT – Section 18-4-401(1)(a), (2)(g), C.R.S. (F5)
   9. THEFT – Section 18-4-401(1)(a), (2)(d), C.R.S. (M2)
   10. THEFT – Section 18-4-401(1)(a), (2)(d), C.R.S. (M2)
   11. THEFT – Section 18-4-401(1)(a), (2)(d), C.R.S. (M2)

24. The Court noted Defendant has served time at Denver Women’s Facility; the above-
    mentioned charges and possible sentences do not consider credit for time served.

25. The Court advised Defendant of her rights as a pro se party if she so chooses to
    represent herself.

26. When asked if she understood the charges against her, Defendant contended she did not
    understand the charges and needed an attorney. The Court finds Defendant’s claim
    incredible as she stated during the Bergerud hearing that she directed former counsel to
    negotiate the above-mentioned trial charges with the People.

27. Further, the Court finds that Defendant did not appear under the influence of drugs or
    alcohol, and that she appeared lucid and oriented.
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   28. The Court set a trial readiness hearing for November 2, 2021 at 9:00 AM with all parties
       to appear IN PERSON unless a party files a good cause motion to appear remotely.

   29. All of the motions for dismissal based on Defendant’s claim of violation to her right of
       speedy trial are dismissed per prior written, detailed orders.

   30. The Court advised Defendant that any additional matters for the Court must be
       submitted to the Court by a written motion. This includes any motion for records or any
       additional motion for a finding of indigency.

   31. The People requested that the Court order Defendant to produce COVID-19 test results
       indicating a positive test for COVID-19. The People contend that the prior evidence
       submitted in Defendant’s motion to vacate warrant was insufficient to give the Court
       accurate information to make a finding on Defendant’s claim. The People request that
       the procurement of test results be a condition of Defendant’s bond.

   32. The Court DENIES the People’s request for any past COVID-19 test results. However,
       the Court will require good cause for any future request to appear remotely.

   33. In the event Defendant requests to appear remotely at future hearings as a result of a
       positive COVID-19 diagnosis, the Court will only consider good cause to be official
       COVID-19 test results provided with a motion in advance of the hearing.

   34. The trial readiness hearing set for November 2, 2021 at 9:00 AM is a bond appearance as
       is the trial set for December 6, 2021. Defendant’s failure to appear will result in a warrant
       for her arrest.

   35. The Court finds that Defendant waived her right to appear in person at the instant status
       conference.
SO ORDERED this 11th day of August 2021, nunc pro tunc August 9, 2021.

                                                             BY THE COURT


                                                             Andrew Hartman, District Judge
